             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                      1:20-cv-00137-MR-WCM

NEWTEK SMALL BUSINESS                  )
FINANCE, LLC,                          )
                                       )
                  Plaintiff,           )                     ORDER
                                       )
V.                                     )
                                       )
RETURN TO EXCELLENCE, INC.             )
doing business as                      )
The Waynesville Inn Golf Resort & Spa, )
MOUNTAIN PRESERVATION, LLC,            )
SN CARVER, LLC,                        )
WAYNESVILLE OVERLOOK, LLC,             )
SAMUEL NED CARVER                      )
                                       )
                  Defendants.          )
                                       )

      Before the Court is a Joint Motion to Modify Pretrial Order and Case

Management Plan (the “Motion,” Doc. 39), by which the parties request that

the remaining pretrial deadlines be extended by four (4) months, that the trial

setting in this case be reset by at least 120 days, and that a ruling on certain

pending motions be deferred.

      The current deadlines and proposed deadlines are:

                  Current                  Proposed
Discovery:        May 10, 2021             September 7, 2021
Mediation:        May 25, 2021             September 22, 2021
Motions:          June 8, 2021             October 6, 2021
Trial Term:       November 15, 2021        March 14, 2022




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      On June 4, 2020, Plaintiff filed a Complaint seeking, among other things,

to collect on promissory notes and to take possession of certain personal

property (the “Collateral”). Doc. 1.

      On October 15, 2020, Plaintiff filed a Motion for Summary Judgment.

Doc. 23. The Motion for Summary Judgment, as well as various other related

motions, are pending. See Doc. 26 (Defendants’ Motion to Defer Consideration

of Motion for Summary Judgment or, in the Alternative, to Allow Time to Take

Discovery); Doc. 30 (Plaintiff’s Motion to Strike affidavits); Doc. 34

(Defendants’ Motion for Leave to File Corrective Declarations).

      In the instant Motion, the parties state that on November 16, 2020,

Defendant Mountain Preservation, LLC “entered into a Purchase and Sale

Agreement with a third party for the sale of Plaintiff's collateral securing the

loans at issue in this case.” Doc. 39 at 2.   The Purchase Agreement has a

closing deadline of April 15, 2021, and Mountain Preservation, LLC represents

that the pending sale of the Collateral “remains on track to close by April 15,

2021.” Doc. 39 at 3.

      Additionally, the parties report that on January 20, 2021, they entered

into a Forbearance Agreement “under which Plaintiff agreed to temporarily

suspend its foreclosure of the real estate collateral so long as Defendants

complied with the terms of the Forbearance Agreement and successfully closed

on their sale of the collateral under the Purchase Agreement by April 15, 2021.”

                                       2

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Id. The parties further assert that they have agreed to “request that the Court

temporarily defer any rulings on the pending motions in this case until

Defendants either closed on their sale of the collateral or defaulted under the

Forbearance Agreement, whichever occurred first, and to move for an

extension of all relevant dates and deadlines in the Scheduling Order by four

months.” Id.

      For the reasons set forth in the Motion, and following consultation with

the chambers of the presiding District Judge, the Motion will be allowed.

      Accordingly, the Joint Motion to Modify Pretrial Order and Case

Management Plan (Doc. 39) is GRANTED, and the following deadlines are

EXTENDED:

         a. Discovery through and including September 7, 2021;

         b. Mediation through and including September 22, 2021; and

         c. Motions through and including October 6, 2021.

In addition, the trial of this matter is RESET to the March 14, 2022 trial term,

and consideration of the pending motions (Docs. 23, 26, 30, & 34) will be

TEMPORARILY DEFERRED.

                                           Signed: March 25, 2021




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